Case 2:22-cv-12951-MAG-JJCG ECF No. 50, PageID.761 Filed 05/03/23 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
JILL BABCOCK, et al.,                             Case No. 22-cv-12951
                                                  Hon. Mark A. Goldsmith
       Plaintiffs,

v

STATE OF MICHIGAN, et al.,

      Defendants.
______________________________________________________________________________

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 elizabeth@abdnour.com                          Wayne County Building Authority
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______________________________________________________________________________


                     AMENDED APPEARANCE OF E. POWELL MILLER

       PLEASE TAKE NOTICE that E. Powell Miller of The Miller Law Firm, P.C. hereby enters

his Appearance on behalf of Defendants, Wayne County and Wayne County Building Authority,

in the above-captioned matter. Please serve all notices, copies of pleadings, papers and other

relevant materials upon the undersigned.
Case 2:22-cv-12951-MAG-JJCG ECF No. 50, PageID.762 Filed 05/03/23 Page 2 of 3




                                               Respectfully Submitted,

                                               THE MILLER LAW FIRM, P.C.

                                               /s/E. Powell Miller
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                                               County and Wayne County Building
                                               Authority
Dated: May 3, 2023




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Case 2:22-cv-12951-MAG-JJCG ECF No. 50, PageID.763 Filed 05/03/23 Page 3 of 3




                          STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
JILL BABCOCK, et al.,                               Case No. 22-cv-12951
                                                    Hon. Mark A. Goldsmith
       Plaintiffs,

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STATE OF MICHIGAN, et al.,

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 elizabeth@abdnour.com                            Wayne County Building Authority
 Attorneys for Plaintiff
______________________________________________________________________________


                                    PROOF OF SERVICE

       E. Powell Miller certifies that on May 3, 2023, he caused to be served Amended Notice of

Appearance of E. Powell Miller and this Proof of Service upon all counsel of record via electronic

filing system.

                                                            /s/ E. Powell Miller
                                                            E. Powell Miller
Dated: May 3, 2023
